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                              1 C. Brandon Wisoff (State Bar No. 121930)
                                bwisoff@fbm.com
                              2 Deepak Gupta (State Bar No. 226991)
                                dgupta@fbm.com
                              3 Jeffrey G. Lau (State Bar No. 281629)
                                jlau@fbm.com
                              4 Rebecca H. Stephens (State Bar No. 299234)
                                rstephens@fbm.com
                              5 Farella Braun + Martel LLP
                                235 Montgomery Street, 17th Floor
                              6 San Francisco, California 94104
                                Telephone: (415) 954-4400
                              7 Facsimile: (415) 954-4480

                            8 Laurence H. Tribe* (State Bar No. 39441)
                              Carl M. Loeb University Professor and
                            9 Professor of Constitutional Law
                              Harvard Law School
                           10 1575 Massachusetts Avenue
                              Cambridge, Massachusetts 02138
                           11 Telephone: (617) 495-1767
                              Admitted pro hac vice
                           12
                              Attorneys for Plaintiff hiQ Labs, Inc.
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                                                                  UNITED STATES DISTRICT COURT
                           15
                                                                 NORTHERN DISTRICT OF CALIFORNIA
                           16

                           17
                                   hiQ Labs, Inc.                                Case No. 3:17-cv-03301-EMC
                           18
                                                    Plaintiff,                   [PROPOSED] ORDER GRANTING
                           19                                                    PLAINTIFF’S MOTION FOR
                                          vs.                                    PRELIMINARY INJUNCTION
                           20
                                   LinkedIn Corp.,                               The Hon. Edward M. Chen
                           21
                                                    Defendant.                   Date:     July 27, 2017
                           22                                                    Time:     1:30 P.M.
                                                                                 Location: Courtroom 5, 17th Floor
                           23                                                              450 Golden Gate Ave.
                                                                                           San Francisco, CA 94102
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   Farella Braun + Martel LLP
                           th
235 Montgomery Street, 17 Floor
 San Francisco, California 94104
         (415) 954-4400
                                   [PROPOSED] ORDER GRANTING PLAINTIFF’S                *Affiliation noted for identification purposes only.
                                   MOTION FOR PRELIMINARY INJUNCTION                                                         34556\6001623.1
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                              1            Currently before the Court is Plaintiff hiQ Labs, Inc.’s (“Plaintiff” or “hiQ”) Motion for a

                              2 Preliminary Injunction. Plaintiff filed an Ex Parte Motion for a Temporary Restraining Order and

                              3 Order to Show Cause Re: Preliminary Injunction on June 7, 2017 (Dkt. 3), but withdrew its

                              4 Motion without prejudice on June 9, 2017 so that the parties could engage in discussions to

                              5 potentially resolve this matter (Dkt. 15). On June 22, 2017, Plaintiff filed a Renewed Motion for a

                              6 Temporary Restraining Order. (Dkts. 23, 24). Defendant LinkedIn Corporation (“Defendant” or

                              7 “LinkedIn”) filed its opposition on June 26, 2017 (Dkt. 31), and Plaintiff filed its reply on June 27,

                              8 2017 (Dkt. 33). The Court held a hearing on Plaintiff’s Renewed Motion for a Temporary

                              9 Restraining Order on June 29, 2017.

                           10              Following the hearing, the parties stipulated that Plaintiff’s Renewed Motion for a

                           11 Temporary Restraining Order would be converted to a motion for a preliminary injunction, and

                           12 that all of the briefing, evidence, and exhibits already submitted with hiQ’s Renewed Motion,

                           13 LinkedIn’s Opposition, and hiQ’s Reply, as well as the transcript from the June 29, 2017 hearing

                           14 would become part of the record on Plaintiff’s motion for a preliminary injunction. (Dkt. 44). The

                           15 Court ordered the parties to file simultaneous supplemental briefs by 5:00 p.m. on July 20, 2017 to

                           16 address the issues raised at the hearing, any other issues the parties wished to clarify, and

                           17 specifically whether, if the CFAA applies based solely on a party’s revocation of permission to

                           18 access a computer, such revocation constitutes state action for purposes of a claim under the U.S.
                           19 Constitution. (Dkt. 45). The Court set a hearing on Plaintiff’s motion for a preliminary injunction

                           20 for July 27, 2017 at 1:30 p.m. Id.

                           21              Having considered the parties’ briefs, the record in this matter, and the arguments of

                           22 counsel at the June 29 and July 27, 2017 hearings, the Court hereby GRANTS Plaintiff’s motion

                           23 for a preliminary injunction as detailed below. This Order, issued on ___________________ at

                           24 ________ a.m./p.m., is effective immediately.

                           25         I.      PLAINTIFF IS ENTITLED TO A PRELIMINARY INJUNCTION
                           26              The standards for a temporary restraining order and preliminary injunction are

                           27 “substantially identical.” Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n. 7

                           28 (9th Cir. 2001). A preliminary injunction is appropriate where (1) the moving party is likely to
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                              1 succeed on the merits; (2) the moving party is likely to suffer irreparable harm without preliminary

                              2 relief; (3) the balance of equities tips in the moving party’s favor; and (4) an injunction is in the

                              3 public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2009). The Ninth Circuit

                              4 has adopted a “sliding scale” analysis, where the moving party can obtain a preliminary injunction

                              5 if it raises “serious questions as to the merits” and the “balance of hardships tips sharply” in its

                              6 favor. SEC v. Bivona, No. 16-cv-01386-EMC, 2016 WL 2996903, at *2 (N.D. Cal. May 25,

                              7 2016), citing Puente Ariz. v. Arpaio, 821 F.3d 1098, 1103 n.4 (9th Cir. 2016).

                              8          Here, Plaintiff has met its burden. The balance of hardships tips sharply in Plaintiff’s

                              9 favor, as the harm caused by permitting LinkedIn to deny Plaintiff access to public member pages

                           10 on its site substantially outweighs any harm LinkedIn would suffer as a result of a preliminary

                           11 injunction. As detailed in Plaintiff’s Motion and the Declaration of Mark Weidick and through the

                           12 oral arguments of Plaintiff’s counsel, without injunctive relief Plaintiff will be unable to access the

                           13 sole source of data for the analytics it provides its clients and will therefore be forced out of

                           14 business. While Plaintiff will be seriously harmed by the denial of a preliminary injunction,

                           15 Defendant will suffer no appreciable harm from hiQ’s continued access to the site.

                           16            Further, Plaintiff has raised “serious questions going to the merits” of its claims for

                           17 interference with contract, interference with prospective economic advantage, promissory

                           18 estoppel, unfair competition, violation of California and U.S. Constitutional free speech principles,
                           19 and for declaratory judgment that it did not and will not violate the federal Computer Fraud and

                           20 Abuse Act (18 U.S.C. § 1030) or California law (California Penal Code § 502) by accessing

                           21 publicly available information on LinkedIn’s site. The Court finds that Plaintiff has shown a

                           22 sufficient enough likelihood of succeeding on those claim to justify the issuance of a preliminary

                           23 injunction.

                           24            Plaintiff has satisfied the two remaining elements of the test as well. Plaintiff will suffer

                           25 immediate, irreparable harm in the absence of injunctive relief. Without a preliminary injunction,

                           26 Plaintiff’s pending contracts are put at risk and Plaintiff may need to close down its operations, lay

                           27 off its employees, and put to waste millions of dollars in investor capital. It is well established that

                           28 damage to a business and interference with its operations constitute irreparable harm. Indeed, a
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                              1 “substantial loss of bankruptcy and perhaps even bankruptcy” absent preliminary injunctive relief

                              2 shows “irreparable injury.” Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975). The loss of

                              3 current and prospective customers is also “considered to be irreparable harm that justifies

                              4 equitable relief.” Shippers v. Fontenot, No. 13CV1349 JLS (MDD), 2013 WL 12092056, at *6

                              5 (S.D. Cal. Sept. 23, 2013), citing Stuhlbarg Int’l Sales Co., Inc., 240 F.3d at 841.

                              6             Finally, the public interest is served by the issuance of a preliminary injunction. Were

                              7 LinkedIn to deny Plaintiff access to its website, Plaintiff may be forced to shutter its business and

                              8 lay off its employees. Putting these people out of work and depriving Plaintiff’s clients of

                              9 Plaintiff’s services would negatively impact the public interest. Further, the public has an interest

                           10 in protection from potential acts of unfair competition. See Max Factor & Co. v. Factor, 226 F.

                           11 Supp. 120, 126 (S.D. Cal. 1963) (“courts have consistently recognized the need to protect the

                           12 public interest in suits for … unfair competition.”); Metro-Goldwyn-Mayer, Inc. v. Lee, 212

                           13 Cal.App.2d 23, 28 (1963) (statute permitting injunction against acts of unfair competition

                           14 “recognizes … the public interest in protection against unfair business practices.”). Here this

                           15 concern is particularly acute because of the effect of LinkedIn’s actions on innovation. Finally,

                           16 the free speech principles implicated here are of broad, public significance. Klein v. City of San

                           17 Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009) (“We have also consistently recognized the

                           18 ‘significant public interest’ in upholding free speech principles” because of the potential impact to
                           19 the free expression interests of third parties). The public interest therefore weighs in favor of

                           20 granting Plaintiff’s motion for a preliminary injunction.

                           21         II.      A BOND IS NOT REQUIRED
                           22               Where no damage will result from a preliminary injunction, no bond is necessary.

                           23 Jorgenson v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003) (“We have recognized that Rule 65(c)

                           24 invests the district court ‘with discretion as to the amount of security required, if any.’ The district

                           25 court may dispense with the filing of a bond when it concludes there is no realistic likelihood of

                           26 harm to the defendant from enjoining his or her conduct.”) (internal citations omitted).

                           27               Here, Plaintiff seeks to preserve the status quo. Defendant has not provided any

                           28 information indicating that an order enjoining it from blocking Plaintiff’s access to its public
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                              1 member profile pages would cause it any harm. Accordingly, the Court finds that Plaintiff is not

                              2 required to post a bond.

                              3       III.         CONCLUSION
                              4              In conclusion, having found that Plaintiff has met its burden to establish that (1) a

                              5 preliminary injunction is appropriate and (2) a bond is not necessary, the Court hereby ORDERS

                              6 as follows:

                              7              1. Defendant LinkedIn Corporation and its officers, agents, servants, employees, and

                              8                    attorneys, are hereby enjoined from (1) preventing hiQ’s access, copying, or use of

                              9                    public profiles on LinkedIn’s website (i.e., information which LinkedIn members have

                           10                      designated public, meaning it is visible not just to LinkedIn members but also to others,

                           11                      including those who may access LinkedIn’s website via Google, Bing, other services,

                           12                      or by direct URL) and (2) blocking or putting in place any mechanism (whether legal

                           13                      or technical) with the effect of blocking hiQ’s access to such member public profiles.

                           14                      To the extent LinkedIn has already put in place technology to prevent hiQ from

                           15                      accessing these public profiles, it is ordered to remove any such barriers within 24

                           16                      hours of the issuance of this Order.

                           17                2. Defendant LinkedIn Corporation and its officers, agents, servants, employees, and

                           18                      attorneys, shall withdraw the cease and desist letters to hiQ dated May 23, 2017 and
                           19                      June 24, 2017. LinkedIn shall refrain from any issuing any further cease and desist

                           20                      letters on the grounds therein stated during the pendency of this injunction. hiQ’s status

                           21                      as a Member of LinkedIn shall be restored to its position prior to the aforementioned

                           22                      cease and desist letters.

                           23                3. This preliminary injunction shall take effect immediately.

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                              1          4. No bond shall be required, as Defendant is not likely to be harmed by being so

                              2             enjoined.

                              3

                              4 IT IS SO ORDERED.

                              5
                                   Dated: ___________, 2017                  _________________________________
                              6                                                     Hon. Edward M. Chen
                                                                                   U.S. District Court Judge
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